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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

American Society of Anesthesiologists, et al.
                                                           Plaintiff,
v.                                                                           Case No.:
                                                                             1:21−cv−06823
                                                                             Honorable Marvin
                                                                             E. Aspen
U.S. Department of Health and Human Services, et al.
                                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 3, 2022:


         MINUTE entry before the Honorable Marvin E. Aspen: We have reviewed the
parties' joint status report [21]. The stay is extended through 7/7/2022, by which time the
parties shall file a joint status report as to the status of the case. The status hearing set for
8/4/2022 remains as set. Mailed notice (ags)




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